     Case 2:22-bk-15448-VZ          Doc 53 Filed 05/15/23 Entered 05/15/23 12:00:40                 Desc
                                     Main Document Page 1 of 1

 1   Nancy Curry, Chapter 13 Trustee
     1000 Wilshire Boulevard, Suite 870
 2   Los Angeles, California 90017
     Tel: (213) 689-3014
 3   Fax: (213) 689-3055                                                 FILED & ENTERED
 4

 5                                                                              MAY 15 2023

 6                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
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 8
                                   UNITED STATES BANKRUPTCY COURT
 9
                     CENTRAL DISTRICT OF CALIFORNIA -- LOS ANGELES DIVISION
10

11   In re:                                             )   Chapter 13
                                                        )
12                                                      )   Case No. 2:22-bk-15448-VZ
                                                        )
13   GEORGE MKITARIAN,                                  )   ORDER DENYING OBJECTION TO CLAIM
                                                        )   NO. 3 ON THE BANKRUPTCY COURT’S
14                                                      )   CLAIMS REGISTER OF THE
                                                        )   DEPARTMENT OF TREASURY –
15                                                      )   INTERNAL REVENUE SERVICE
                                                        )
16                                                      )   Date: May 8, 2023
                                                        )   Time: 11:30 A.M.
17                                                      )   Place: 255 E. Temple Street
                                             Debtor.    )       Courtroom 1368, Los Angeles, CA 90012
18                                                      )
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               On May 8, 2023 , a hearing was held on Objection to Claim #3 of the Department of Treasury –
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     Internal Revenue Service (“Objection”). Appearances were as noted in the record. Based on the findings
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     and conclusions made on the record, IT IS ORDERED that the Objection is DENIED.
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25            Date: May 15, 2023

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